                                                                                                                                 UST-50 COVER SHEET
                                              MONTHLY FINANCIAL REPORT FOR
                                      INDIVIDUAL DEBTOR(S) NOT ENGAGED IN BUSINESS

Case No.        19-60230-pcm11

Debtor          William Berman                                                                       Report Month/Year            Jan 2020- Amd



  Instructions: The debtor's monthly financial report shall include this cover sheet signed by the debtor and all
  UST forms and supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to
  comply with the reporting requirements of Local Bankruptcy Rule 2015-1(b) and 2015-2, or the U.S. Trustee's
  reporting requirements, may be cause for conversion or dismissal of the case.


                                                                                                                                          Not
The debtor submits the following with this monthly financial report:                                                         Completed Applicable
UST-51      Comparative Balance Sheet or debtor's balance sheet.
                The debtor's balance sheet, if used, shall include a breakdown of pre- and post-petition liabilities. The
                breakdown may be provided as a separate attachment to the debtor's balance sheet.


UST-52          Summary of Receipts


UST-53          Summary of Disbursements


UST-53A         Financial Account Detail
                Complete one or more to include all bank accounts or other sources of debtor funds. Include copies of
                monthly bank statements and all supporting documents described in the instructions.


UST-54          Other Financial Disclosures
                When applicable, UST-54 shall include supporting documents, including, but not limited to, an escrow
                statement for the sale of real property, an auctioneer's report for property sold at auction, or a certificate
                of insurance for any change in insurance coverage.




                                              DEBTOR'S CERTIFICATION
I certify under penalty of perjury that (1) I have personally prepared this financial report or directly supervised its preparation, and
(2) the information contained in this monthly financial report is complete, true, and accurate to the best of my knowledge,
information, and belief.
                                                                                                     07 / 15 / 2020
BY:________________________________________                                                DATE:____________________

The debtor(s), or trustee, if appointed, must sign the monthly financial report. Debtor's counsel may not sign a financial report for the debtor.




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     United States Trustee-Oregon                                                                                                          (Revised 3-4-11)



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                                                                                                   Doc ID: b09fc57ac480729bb7efe2e9f5791a4abaf0459f
                                                                                                                                          UST-51


                                                                                                   Case Number: 19-60230-TMB11
                                                                                                   Report Mo/Yr: Jan 2020- Amd
Debtor:      William Berman

                                             UST-51, COMPARATIVE BALANCE SHEET

INSTRUCTIONS: This balance sheet has been designed for ease of use by debtors not engaged in business. Accordingly, it is not intended to follow
standard accounting principles. For funds held in banks or brokerages, the debtor must report the month-end market value. For each remaining
asset, the debtor should use the current market value. Footnotes or explanations, if any, may be attached to this page.




                                                                 MO/YR              MO/YR               MO/YR          PER SCHEDULES
ASSETS                        As of month ending:               Nov 2019           Dec 2019            Jan 2020        (i.e. Petition Date)
           Cash                                                        400               450                 350                        200
           Checking Account(s)                                      36,889            35,599              32,630                     35,938
           Savings Account(s)                                                                                                           -
           Air Force Annuity                                         14,909             14,909             14,909                    29,820
           IRA/Retirement Account(s)                                309,779            309,779            309,779                   309,776
           Remaining Personal Property                               76,788             76,788             76,788                    76,788
           Real Property                                            284,030            284,030            284,030                   284,030
        1. Loan Repayment                                           107,690            107,690            107,690                   107,690
        2.
        3.
           (attach additional sheets if needed)

             Other Assets (list all assets not included
            above even those acquired post-petition)
TOTAL ASSETS                                                        830,486            829,245            826,176                     844,241


LIABILITIES
   Pre-Petition Liabilities
         Secured Debt                                             5,184,512          5,184,512          5,184,512                  5,184,512
         Priority Unsecured Debt                                                                                                         -
         Unsecured Debt                                           2,527,209          2,527,209          2,527,209                  2,527,209
   TOTAL PRE-PETITION LIABILITIES                                 7,711,721          7,711,721          7,711,721                  7,711,721
   Post-Petition Liabilities
         Mortgage/Rent Payments Due
         Other Secured Debt
         Unpaid Real Property Taxes
         Other Unpaid Taxes (specify)
         Other Unpaid Debts (specify)

    TOTAL POST-PETITION LIABILITIES                                       -                  -                  -                            -

TOTAL LIABILITIES                                                 7,711,721          7,711,721          7,711,721                  7,711,721

NET WORTH (TOTAL ASSETS MINUS TOTAL
   TOTAL LIABILITIES)                                            (6,881,235)        (6,882,476)        (6,885,544)                (6,867,479)




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                                                                                                                                            UST-52


                                                                                                Case Number:             19-60230-pcm11
                                                                                                Report Mo/Yr:            Jan 2020- Amd
Debtor: William Berman

                                                  UST-52, SUMMARY OF RECEIPTS
INSTRUCTIONS: Complete each category and provide the net receipts total for the month. Use the Notes section to explain or itemize receipts when
appropriate. Note that the initial report should include only financial activity commencing from the petition date through the end of the month.




Type of Receipt                                                                                    Gross Amount              Net Amount
           Wages or salary                                                                                   6,250.00                 4,494.16
           Social security, pension, or 401k distributions *
           Collection of accounts receivable or note payable (specify source)                             107,690.33              107,690.33
           Loan or other financing proceeds (specify source)                                                       -                           -
           Proceeds from sale of real property                                                                     -
           Proceeds from sale of personal property                                                                 -                           -
           Other (explain) Interest Dep                                                                           0.29                       0.29




TOTAL RECEIPTS FOR THIS MONTH                                                                             113,940.62              112,184.78


Notes:     AR Collection is from Debra Berman as contemplated in plan.




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                                                                                                                                       UST-53


                                                                                Case Number: 19-60230-pcm11
                                                                                Report Mo/Yr: Jan 2020- Amd

Debtor:          William Berman

                                               UST-53, SUMMARY OF DISBURSEMENTS

INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare UST-53A (see next page) to include all bank accounts or other
sources of the debtor's funds. The disbursement total will be used to complete this SUMMARY OF DISBURSEMENTS.

The debtor is responsible for providing accurate monthly disbursement totals for purposes of calculating the debtor's obligation
pursuant to 28 U.S.C. § 1930(a)(6) to pay statutory fees to the U.S. Trustee. The disbursement total encompasses all payments made
by the debtor during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks
written and cash payments. It also includes payments made pursuant to joint check arrangements and those resulting from a sale or
liquidation of the debtor's assets. The only transactions normally excluded from the disbursement total are transfers within the same
reporting month between multiple debtor accounts.

The U.S. Trustee payment is due on the last day of the month following the end of each calendar quarter, or on April 30, July 31,
October 31, and January 31, respectively. Because the amount billed is an estimate, the debtor is responsible for paying the correct
statutory fee based on actual disbursements for the calendar quarter, or portion thereof while the debtor is in Chapter 11 (i.e. until the
case is converted, dismissed, or closed by final decree). Failure to pay statutory fees to the U.S. Trustee is cause for conversion or
dismissal of the case. A copy of the statutory fee schedule may be found in the Chapter 11 Guidelines on the U.S. Trustee's website
located at:

                       http://www.justice.gov/ust/r18/portland/chapter11.htm
                       http://www.justice.gov/ust/r18/eugene/chapter11.htm

If you have any questions about how to compute the disbursement total, please call the U.S. Trustee's office:

Portland, OR              (503) 326-4000
Eugene, OR                (541) 465-6330



                 (UST-53A - Financial Account Detail, with attachments, should follow this page.)

COMPUTATION OF MONTHLY DISBURSEMENT TOTAL
Total disbursements from UST-53A                                                                                                  7,463.04
Cash payments not included in total above (if any)                                                                                        -
Disbursements made by third parties for the debtor (if any, explain)
Disbursements made pursuant to a sale of the debtor's assets (if any)                                                                      -
TOTAL DISBURSEMENTS THIS MONTH FROM ALL SOURCES                                                                       $           7,463.04

                                                                                                   Yes         No
At the end of this reporting month, did the debtor have any delinquent statutory fees
 owing to the U.S. Trustee?

(If yes, list each quarter that is delinquent and the amount due along with an explanation)

Quarter          Explanation                                                                                          Amount




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                                                                                                                       UST-53A
                                                                             Case Number:                  19-60230-pcm11
Debtor:                                                                      Report Mo/Yr:                 Jan 2020- Amd
William Berman

                                          UST-53A - FINANCIAL ACCOUNT DETAIL



INSTRUCTIONS: Include all financial and brokerage accounts or other sources of the debtor's funds. Attach supporting
documents as indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                        US Bank          US Bank
Account Number                                DIP #8544        DIP #1699
Type of Account                               Checking        Claim Fund                                        TOTALS

Beginning Cash Balance                           35,598.56             -                                            35,598.56
Add:
Transfers in                                           -                                                                -
Receipts deposited                                4,494.45      107,690.33                                       112,184.78
Other (identify source)                                                                                                 -
  Total Cash Receipts                             4,494.45      107,690.33             -              -          112,184.78

Subtract:
Transfers out                                                                                                             -
Disbursements by check or debit                  (7,463.04)            -                                            (7,463.04)
Cash withdrawn                                                                                                            -
Other (identify source)                                                                                                   -
  Total Cash Disbursements                       (7,463.04)            -               -              -             (7,463.04)

Ending Cash Balance                              32,629.97      107,690.33             -              -           140,320.30

Does each account identified above include the following supporting documents, as required? (Indicate YES, NO or
NOT APPLICABLE in the boxes below).

Monthly bank statement copy            Yes
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)                                   NA


A detailed list of receipts for the account
(deposit log or receipts journal)           NA

A detailed list of disbursements for the
account (check register or disbursement
journal)                                 NA

Funds received and/or
disbursed by another party                 No




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                                                                                                                              UST-54


                                                                                               Case Number: 19-60230-pcm11
                                                                                               Report Mo/Yr: Jan 2020- Amd
Debtor:                            William Berman

                                         UST-54, OTHER FINANCIAL DISCLOSURES
INSTRUCTIONS: Answer each question fully and attach additional sheets as necessary to provide a complete response

Question 1 - Sale of the Debtor's Assets
Did the debtor, or another party on behalf of the the debtor, sell, transfer, or otherwise dispose of any           Yes            No
of the debtor's assets during the reporting month? If yes, attach a schedule identifying each asset, date of
sale notice, method of disposition, and gross and net sale proceeds received. If real property was sold,
attach a copy of the closing statement.




Question 2 - Financing
During the reporting month, did the debtor receive any funds from an outside funding source? If yes,
indicate the source of the funds, date paid to debtor, dollar amount, and date of court approval.
                                                                                       Date of Court
       Source of Funds                 Date Paid               Amount                    Approval                   Yes            No




Question 3 - Payments on Pre-Petition Unsecured Debt
                                                                                                                    Yes            No
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting
month on pre-petition unsecured debt? If yes, attach a schedule disclosing each payment and include
payee's name and purpose, payment date, dollar amount , and date of court approval.




Question 4 - Payments to Attorneys and Other Professionals
                                                                                                                    Yes            No
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting
month to a professional such as an attorney, accountant, realtor, appraiser, auctioneer, business
consultant, or other professional person? If yes, attach a schedule listing each payment and include
professionals name and description of services performed, payment date, dollar amount, and date of
court approval.




Question 5 - Insurance and Bond Coverage
                                                                                                                    Yes            No
Did the debtor renew or replace any insurance policies during this reporting month? If yes, attach
a certificate of insurance for each renewal or change in coverage.

Were any of the debtor's insurance policies canceled or otherwise terminated for any reason during
the reporting month? If yes, explain.




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                                                                                                         Case Number: 19-60230-pcm11
                                                                                                         Report Mo/Yr: Jan 2020- Amd

Debtor: William Berman

                                              UST-54, OTHER FINANCIAL DISCLOSURES

INSTRUCTIONS: Answer each question fully and attach additional sheets as necessary to provide a complete response.




Question 6 - Significant Events. Provide a narrative report of any significant events which may have an effect on the
financial condition of the debtor. Attach separate sheet(s) as necessary.




Question 7 - Case Progress. Explain what progress the debtor has made during the reporting month toward confirmation of
a plan of reorganization.

Plan and Disclosure Statement filed on 7/15/2019.




                                                                                                                        Estimated Date
                                                                                                                          To be Filed
                                                                                                             Filed?       If not Filed

             Disclosure Statement:                                                                         7/15/2019

             Plan of Reorganization:                                                                       7/15/2019




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                                                                                        Case Number: 19-60230-pcm11
                                                                                        Report Mo/Yr: Jan 2020- Amd

Debtor:                             William Berman

                                        UST-54, OTHER FINANCIAL DISCLOSURES (contd.)

WHERE TO FILE A MONTHLY OPERATING REPORT: Local Bankruptcy Rule 2015-2 requires the debtor to file its monthly
financial report with the U.S. Bankruptcy Court.


File the original       .(select only one)

For a Chapter 11 case filed in Portland, OR:                  For a Chapter 11 case filed in Eugene, OR:
                          United States Bankruptcy Court                          United States Bankruptcy Court
                          1001 SW 5th Avenue, 7th floor                           405 East 8th Avenue, Suite 2600
                          Portland, OR 97204                                      Eugene, OR 97401


CERTIFICATION OF SERVICE: The undersigned certifies that copies of this report and all supporting documents have
been served upon each of the following persons in this case: U.S. Trustee; the chairperson of each official committee
of creditors or equity security holders and the attorney(s) for each such committee; the debtor and the debtor's attorney;
and the trustee and the trustee's attorney, if applicable.

BY:__/s/ Troy G. Sexton________________________                            DATE:7/15/2020

TITLE:_Attorney for Debtor_                                 PHONE NUMBER: 503-417-0517

Send U.S. Trustee's copy to: (select only one)

For a Chapter 11 case filed in Portland, OR:                   For a Chapter 11 case filed in Eugene, OR:

Office of the United States Trustee                             Office of the United States Trustee
620 SW Main Street, Suite 213                                   405 East 8th Avenue, Suite 1100
Portland, OR 97205                                              Eugene, OR 97401




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